     Case 8:22-cv-00253-DOC-ADS Document 59 Filed 04/19/23 Page 1 of 2 Page ID #:523




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 8
 9                               UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
10                                    SOUTHERN DIVISION
11
        CHRISTIAN LEMUS, individually           Case No. 8:22-cv-00253-DOC-ADS
12      and on behalf of all others similarly
13      situated,
                                                STIPULATION OF DISMISSAL
14
                                Plaintiff,      WITH PREJUDICE
15
        v.
16
17      RITE AID CORPORATION,
18
                                Defendant.
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     Case 8:22-cv-00253-DOC-ADS Document 59 Filed 04/19/23 Page 2 of 2 Page ID #:524




 1          The above-captioned parties hereby stipulate to dismiss all Plaintiff Christian
 2    Lemus’s claims against Defendant Rite Aid Corporation, with prejudice. See Federal Rule
 3    of Civil Procedure 41(a)(1)(A)(ii). The claims of putative class members are dismissed
 4    without prejudice. Each party shall bear its own attorneys’ fees and costs.
 5
 6    Dated: April 19, 2023                   Respectfully submitted,
 7
                                              By: /s/ Jonas B. Jacobson
 8
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17                                            SHOOK, HARDY & BACON
18                                            By: /s/ Emily M. Weissenberger
19                                                   Emily M. Weissenberger
                                                     Attorneys for Defendant
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                                                     RITE AID CORPORATION
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